        Case 1:19-cr-00696-PAE Document 215-5 Filed 04/23/21 Page 1 of 5




   UNITED STATES OF AMERICA
   SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
                                                     S1 19 Cr. 696 (PAE)
        v.

 ARI TEMAN,

                       Defendant.


                                            AFFIDAVIT

       I, KAREN FINOCCHIARO, herby declare under the penalties of perjury and pursuant to

28 U.S.C. § 1746:

       1.      I am a Vice-President and Senior Fraud Investigator at Bank of America, N.A

(“Bank of America”). I base this affidavit on my experience and observations working at Bank of

America, my review of Bank of America records, and my communications with other employees

of Bank of America. I have prepared a document reflecting the bank account names and dollars

amounts discussed in this Affidavit, and I attach that document as Exhibit 1.

       2.      On or about August 6, 2019, Bank of America closed the following bank accounts:

               a.     An account held in the name of “GateGuard, Inc.,” with account number

ending in 8085 (the “GateGuard Account”);

               b.     An account held in the name of “Ari Teman,” with account number ending

in 5580 (the “Ari Teman Account”);

               c.     An account held in the name of “Friend or Fraud Inc.” with account number

ending in 0351 (“Friend or Fraud Account-1”);

               d.     An account held in the name of “Friend or Fraud Inc.” with account number

ending in 7673 (“Friend or Fraud Account-2”); and
        Case 1:19-cr-00696-PAE Document 215-5 Filed 04/23/21 Page 2 of 5




                 e.     An account held in the name of “Touchless Labs LLC” with account

number 1003 (the “Touchless Labs Account” and, together with the aforementioned accounts, the

“Teman Bank Accounts”).

       3.        At the time the accounts were closed, the GateGuard account had a negative balance

of $259,988.17; the Ari Teman Account had funds equaling $13,477.37; Friend or Fraud Account-

1 had funds equaling $8,411.00; Friend or Fraud Account-2 had funds equaling $2.69; and the

Touchless Labs Account had funds equaling $86,910.71. The positive balances in the Ari Teman

Account, Friend or Fraud Account-1, Friend or Fraud Account-2, and the Touchless Labs Account

were held in Hold Harmless. Funds in Hold Harmless are maintained in an effort to remediate

fraud and claims pending events. Bank of America initially disbursed funds from the Hold

Harmless account back to the aforementioned customer and the checks were returned

undeliverable.

       4.        Although the GateGuard account had a negative balance and the other Teman Bank

Accounts had a positive balance, Bank of America is unable to offset losses in one account (i.e.,

the GateGuard Account) with positive balances on other accounts held by different corporate

entities or personal accounts (i.e., the other Teman Bank Accounts).

       5.        On or about February 25, 2020, Bank of America sought to return funds from the

Ari Teman Account, Friend or Fraud Account-1, Friend or Fraud Account-2, and the Touchless

Labs Account. Bank of America mailed physical checks to the owner of those accounts.

       6.        In or about November 2020, I communicated with other bank officials, who

instructed me that Bank of America had identified certain fees charged in the GateGuard account

and that the bank was not seeking recovery of those funds. The removal of these fees was reflected




                                                 2
        Case 1:19-cr-00696-PAE Document 215-5 Filed 04/23/21 Page 3 of 5




when Bank of America reduced the loss amount by $647.85, resulting in a total loss of $259,340.32

in the GateGuard Account.

       7.      In or about November 2020, I was notified by another Bank of America employee

that the bank was able to offset its loss in the GateGuard Account with the funds in the Ari Teman

Account totaling $13,477.37. However, it has since been confirmed an official item was created

and sent to Mr. Teman totaling $13,477.37 and these funds are not available for offset.


Dated: April 2, 2021
       New York, New York


                                                    Karen Finocchiaro
                                                    Vice-President and Senior Fraud Investigator
                                                    Bank of America, N.A.




                                                3
Case 1:19-cr-00696-PAE Document 215-5 Filed 04/23/21 Page 4 of 5




                           Exhibit A
        Case 1:19-cr-00696-PAE Document 215-5 Filed 04/23/21 Page 5 of 5




GATEGUARD, INC
Party ID: 10012245094
483067038085
$‐259,988.17
$‐259,700.17 C/O
Loss incurred
$‐ 259,340.32 (359.85 credit‐Misc adjustment)

Ari Teman
Party ID: 35024831102
483066615580
$13,477.37
Sent funds to customer (funds were transferred from account 8085 & 0351)
$13,477.37

Friend or Fraud
Party ID: 10010097658
483056100351
$8,411.00
Sent funds to customer (Funds were transferred from account 8085)

Friend or Fraud
Party ID: 10010097658
483063787673
$2.69
Sent funds to customer

TOUCHLESS LABS LLC
Party ID: 10010031003
483056101046
$86,910.71
Sent funds to customer (Funds were transferred from account 0351)

Total loss: $259,340.32
